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                         IN T H E UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     D A L L A S DIVISION

PEDRO CABRERA,                                      §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §       C I V I L A C T I O N NO.
                                                    §
A L L S T A T E F I R E AND C A S U A L T Y         §
INSURANCE COMPANY,                                  §
                                                    §
        Defendant.                                  §


      D E F E N D A N T A L L S T A T E F I R E AND C A S U A L T Y I N S U R A N C E COMPANY'S
                                        NOTICE OF REMOVAL



TO T H E H O N O R A B L E COURT:

        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Fire and Casualty Insurance

Company i n Cause No. DC-15-06904-B, pending i n the 44th Judicial District Court o f Dallas

County, Texas, files this Notice o f Removal f r o m that court to the United States District Court for

the Northern District o f Texas, Dallas Division, on the basis o f diversity o f citizenship and amount

i n controversy and respectfully shows:

                                                I.
                                       FACTUAL BACKGROUND

        1.1     On or about June 17, 2015, Plaintiff filed Plaintiffs Original Petition i n the matter

styled Pedro   Cabrera   v. Allstate    Fire and Casualty   Insurance   Company,   Cause No. DC-15-

06904-B, pending i n the 44th Judicial District Court o f Dallas County, Texas, i n which Plaintiff

made a claim for damages to his home under a homeowner's insurance policy with Allstate Fire

and Casualty Insurance Company.




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        1.2     Plaintiff served     Defendant    Allstate Fire and Casualty         Insurance      Company

("Allstate") w i t h P l a i n t i f f s Original Petition and process on July 7, 2015, by process server on

its registered agent, C T Corporation System.

        1.3     Simultaneously with the filing o f this notice o f removal, attached hereto as Exhibit

" A " is the Index o f State Court Documents that clearly identifies each document and indicates

the date the document was filed i n state court. Attached as Exhibit " B " is a copy o f the docket

sheet and all documents filed i n the state court action are attached as Exhibits " B - l " through

Exhibit " B - 5 " as identified on the Index o f Documents.

                                                    II.
                                      BASIS F O R R E M O V A L


        2.1     Defendant files this notice o f removal within 30 days o f receiving P l a i n t i f f s

Original Petition. See 28 U.S.C. § 1446(b). This Notice o f Removal is being filed within one

year o f the commencement o f this action. See id.

        2.2     Removal is proper        based upon diversity o f citizenship under 28                 U.S.C.

§ § 1332(a)(1), 1441(a), and 1446.


       A.       T H E PARTIES A R E O F D I V E R S E CITIZENSHIP.


        2.3     Plaintiff is, and was at the time the lawsuit was filed, a natural person and a

resident o f Dallas County i n the State o f Texas and thus, is a citizen o f Texas.       See P l a i n t i f f s

Original Petition, % 2. On information and belief, Plaintiff intends to continue residing i n Texas

and is thus domiciled i n Texas. See Hollinger       v. Home State Mut. Ins. Co., 654 F.3d 564, 571

(5th Cir. 2011) (evidence o f a person's place o f residence is prima facie proof o f his state o f

domicile, which presumptively continues unless rebutted with sufficient evidence o f change).




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        2.4       Defendant Allstate Fire and Casualty Insurance Company is an Illinois corporation

with its principal place o f business i n Illinois and is a citizen o f the State o f Illinois for diversity

purposes, and therefore, complete diversity exists.

        B.        T H E A M O U N T IN C O N T R O V E R S Y E X C E E D S T H E J U R I S D I C T I O N A L
                  REQUIREMENTS F O R SUBJECT M A T T E R JURISDICTION.


        2.5       I n determining the amount i n controversy, the court may consider "policy limits...

penalties, statutory damages, and punitive damages."                           St. Paul      Reinsurance       Co., Ltd. v.

Greenberg,     134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 W L 151667, at * 2-3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

i n controversy i n p l a i n t i f f s case against their insurance company for breach o f contract, fraud,

negligence, gross negligence, bad faith, violations o f the Texas Insurance Code, violations o f the

Texas Deceptive Trade Practices A c t , and mental anguish); Fairmont                          Travel, Inc. v. George S.

May Int'l     Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering D T P A claims and the

potential f o r recovery o f punitive damages for the amount i n controversy determination); Chittick

v. Fanners    Ins. Exck,    844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount i n

controversy after considering the nature o f the claims, the types o f damages sought and the

presumed net worth o f the defendant i n a claim brought by the insureds against their insurance

company for actual and punitive damages arising f r o m a claim they made for roof damages).

        2.6        This is a civil action i n which the amount i n controversy exceeds $75,000.00.

Plaintiff alleges that Defendant is liable under a residential insurance policy because Plaintiff

made a claim under that policy and Defendant wrongfully adjusted and denied P l a i n t i f f s claim.

       2.7       Plaintiff has specifically pled that he is seeking monetary relief over $200,000,

but not more than $1,000,000.              See P l a i n t i f f s Original Petition, «ft 4. This evidence clearly

demonstrates that the amount i n controversy i n this case exceeds the jurisdictional requirements.


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                                                    III.
                         T H E R E M O V A L IS P R O C E D U R A L L Y C O R R E C T

         3.1      Defendant Allstate was served w i t h P l a i n t i f f s Original Petition and process on

July 7, 2015.       This notice o f removal is filed within the 30-day time period required by 28

U.S.C. § 1446(b).


         3.2      Venue is proper i n this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county i n which the state action has been pending and

because a substantial part o f the events giving rise to P l a i n t i f f s claims allegedly occurred i n this

District and Division.

         3.3      Pursuant to 28 U.S.C. § 1446(a), all pleadings, process, orders, and all other filings

i n the state court action are attached to this Notice.

         3.4      Pursuant to 28 U.S.C. § 1446(d), promptly after Defendant files this Notice,

written notice o f the f i l i n g w i l l be given to Plaintiff, the adverse party.

         3.5     Pursuant to 28 U.S.C. § 1446(d), a true and correct copy o f this Notice o f Removal

w i l l be filed with the Clerk o f the Dallas County District Court, promptly after Defendant files

this Notice.

                                                    IV.
                                                CONCLUSION

        4.1      Based upon the foregoing, the exhibits submitted i n support o f this Removal and

other documents filed contemporaneously w i t h this Notice o f Removal and f u l l y incorporated

herein by reference, Defendant Allstate Fire and Casualty Insurance Company hereby removes

this case to this Court for trial and determination.




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                                           Respectfully submitted,

                                             1st Roger D. Higgins
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                                           A T T O R N E Y S FOR D E F E N D A N T
                                           A L L S T A T E FIRE A N D C A S U A L T Y I N S U R A N C E
                                           COMPANY

                                  CERTIFICATE OF SERVICE

        This is to certify that on August 6, 2015, a copy o f this document was served to all Counsel
o f Record via electronic notice and/or certified mail, return receipt requested to:

                Brandon D . Morris
                Email: Brandon@simplyj ustice. com
                A R G U E L L O , HOPE & ASSOCIATES, P.L.L.C
                1110 Nasa Parkway, Suite 620
                Houston, Texas 77058
                Facsimile: (281)402-3534



                                             /s/ Roger D. Higgins
                                               Roger D . Higgins




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